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                EXHIBIT B
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman;          )
Maria Valencia and Jeremiah Jurevis;                 )      No. 18-cv-03424
              Plaintiffs,                            )
v.                                                   )      Honorable John Robert Blakey
                                                     )
Chicago Park District and City of Chicago,           )      Jury Demanded
             Defendants.                             )

     DECLARATION OF MARK ROTH IN SUPPORT OF PLAINTIFFS’ SUBMISSION
                      PURSUANT TO THIS COURT’S
              JANUARY 22, 2019 AND JANUARY 31, 2019 ORDERS

Pursuant to 28 U.S.C.§ 1746, I hereby declare as follows:

1.      My name is Mark Roth. I am an attorney representing Plaintiffs in this lawsuit.

2.      The following facts, demonstrate the existence of questions of fact that would require
denial of the Defendants’ Rule 12(c) Motion, if converted to a motion for summary judgment:

3.     The 2018 Ordinance refers to recommendations and assertions of a study from the
University of Chicago (“UofC”) in reliance upon the placement of the OPC in Jackson Park.
The study from UofC discussed three sites for the location of the OPC: Washington Park,
Woodlawn (Jackson Park), and the South Shore Cultural Center. Attached hereto as Exhibit 1 to
this Declaration is a true and correct copy of “A Place of Possibility: The Response to the
Request for Proposal,” discussing the three locations for the OPC suggested by UofC.

4.     UofC engaged Anderson Economic Group (“AEG”) to conduct a review of the potential
economic impact of the Presidential Center at each of the three locations proposed by UofC.
Exhibit 1, at pages 112, 119, 131, 147 and 194.

5.      UofC actually recommended the Washington Park site, not Jackson Park, as the best
location for the OPC, because of Washington Park’s greater potential for a positive economic
impact on the City, and because the OPC could locate on the Washington Park site without
occupying Park District land. Exhibit 1, at page 53.

6.      UofC’s findings opined that: “The Washington Park Site pairs the greatest need with the
greatest opportunity.” Exhibit 1, at page 53.

7.      UofC’s findings concluded that “Unlike the other two proposed sites, which are situated
entirely within the City’s park system, the Washington Park site includes a portion of land on the
city grid owned by the University of Chicago, and the Chicago Transit Authority. This provides
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an opportunity for the Foundation to develop the Presidential Center without occupying Park
District land.” Exhibit 1, at page 53.

8.     UofC found, based on the economic analysis by AEG: “Of all the proposed sites, the
Washington Park neighborhood is the one with the greatest potential for economic development
and growth.” Exhibit 1, at page 113.

9.      UofC findings noted that:

        The (Washington Park site) neighborhood has nearly 270 acres of vacant land and
        limited existing retail, recreational, and food amenities. The influx of new demand
        from Presidential Center visitors and the affordability of local properties could
        spur a significant amount of development near the site to the scale of up to 2,000
        new residences and 1.5 million square feet of commercial and community
        development potential. With no nearby hotel or accommodations currently
        available for visitors to the Presidential Center, the demand could support a new
        hotel.

        The Presidential Center’s presence, the revitalization efforts on Garfield
        Boulevard by the University and other partners, and targeted investments by the
        City of Chicago could drive the creation of new businesses around arts and
        culture, including performance and gallery spaces, eclectic restaurants, and new
        retail outlets. In addition to the commercial development, Garfield Boulevard
        could accommodate several new community nonprofits, a creative incubator
        space to support the further development of cultural entrepreneurs, enhanced
        recreational facilities, and a hotel and conference center, dramatically increasing
        the number of people who work in the area. Most of this development could take
        place along Garfield Boulevard and Dr. Martin Luther King Jr. Drive. Residential
        programs led by the city could expand housing in the area and bring new residents
        to the neighborhood. The Presidential Center’s presence will also help the City
        direct and target much-needed infrastructure improvements in the area, including
        redesigned CTA “L” line stations, revived streetscapes, park improvements, and a
        potential new Metra station, further expanding the neighborhood’s capacity for
        economic development.

        Because the Washington Park neighborhood has experienced such a large decline
        in population in recent years, the negative impacts of development are likely to be
        minimal. With significant vacant land throughout the neighborhood, economic
        development in the region is unlikely to displace local residents.

Exhibit 1, at page 113.

9.     UofC's findings recognized that the Washington Park Site was the only proposed site that
is “connected to a CTA train and a bus hub, and Garfield Boulevard with provides access to the
Dan Ryan Expressway, less than a mile away.” Attached hereto as Exhibit 2 is a true and correct
copy of the document entitled “A Place of Possibility A Vision for the Barack Obama
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Presidential Library on the South Side of Chicago” at page 59. This document was produced by
UofC pursuant to a subpoena in this case.

10.    UofC’s study on the three proposed locations for the OPC states:

       Transforming Washington Park
       The Washington Park site pairs the greatest need with the greatest opportunity,
       creating the potential for true transformation. Washington Park is the least
       developed among the sites proposed. Within half a mile of the site, scattered
       businesses provide 1,400 jobs, though the retail, recreation, and food service
       industries are all small in the area. No hotels or other forms of accommodation are
       within one mile of the site.

       Yet, of all the sites, this is the only one connected to a CTA train and bus hub, and
       Garfield Boulevard, which provides access to the Dan Ryan Expressway, less
       than a mile away. This combination of private and public transportation routes
       makes the site the most accessible of the three. A Library at this location offers
       the opportunity to remake Garfield Boulevard and Dr. Martin Luther King Jr.
       Drive into the grand thoroughfares they once were.

       Additionally, the site is linked to nearby cultural institutions, including the
       DuSable Museum of African American History, the George Washington
       Memorial, and the University of Chicago’s Arts Block, where mentoring and
       community development programming will promote local growth and vibrancy.
       Washington Park itself receives a million and a half visitors on a single day for
       the Bud Billiken Parade every year.

       As a result of this blend of under-resourcing and strong potential, of all the sites,
       Washington Park would best accommodate the new businesses that would be in
       demand if the Barack Obama Presidential Library were built in the heart of the
       South Side. A well-planned development strategy would transform the
       neighborhood, providing jobs, enhanced infrastructure, and educational
       opportunities for youth.

Exhibit 2, at page 59.

11.    The AEG study commissioned by UofC found:

       Given the influx of new demand that would occur if the Obama Library were built
       at this location (Washington Park) and the affordability of local properties, we
       would expect to see a significant amount of development occur near this site if the
       presidential library were to locate here. We expect that the City of Chicago would
       make infrastructure improvements near the Obama Library, as well, which are
       sorely needed in this area. Of all the proposed sites, this one would most
       amenably accommodate new businesses and investment that might come in to the
       area due to the presence of a presidential library.
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Attached hereto as Exhibit 3 is a true and correct copy of the “The Economic Impact of
the Barack Obama Presidential Library in Chicago,” at page 11. This document was
produced by the Defendants pursuant to this Court’s order.

12.   The AEG study commissioned by UofC found the following with respect to the
Woodlawn (Jackson Park) location:

       There is not a current base of industry in place that would serve the demand of
       visitors to Jackson Park within half a mile of the proposed location. There is some
       room for growth, but a lot of the nearby land is taken up by public parks or large
       institutions and developments. We would expect to see development in the area
       similar to what might occur near Washington Park to meet more local demand
       from tourism, but this would be somewhat more constrained since there is already
       a lot of residential and publicly owned property in the region.

Exhibit 3, at page 12-13.

13.     Jackson Park is subject to a restriction that Jackson Park “shall be held, managed and
controlled by them and their successors, as a public park, for the recreation, health and benefit of
the public, and free to all persons forever.” [Dkt. No. 65, page 3.]

14.     There are numerous other locations that are suitable for the location of the OPC with
significant and real benefits, as set forth in the same U of C study that is cited by the Ordinance.

15.     There is no other situation where a brand-new institution in a new building and a new
campus has been situated in a historic Chicago park. The settings and context for eleven
Museums in Chicago Parks were all very different from that being proposed for the OPC. The
museums in the park utilized reclaimed historic buildings, or were constructed on sites of
previously existing buildings that became available, or were constructed on former railyards or
empty non-parkland or former cemetery locations. See Declaration of Ward Miller, Exhibit 4
hereto.

16.     Section 8 of the Environmental Remediation and Indemnification Agreement
(“Environmental Agreement”) provides that the City of Chicago is using taxpayer dollars now to
reimburse the Foundation for environmental costs that the Foundation previously incurred
related to the OPC Site. [Dkt. No. 49-6, pages 105-06]

17.    Section 8 of the Environmental Agreement provides that the City will pay for all
environmental remediation costs related to building the OPC. [Dkt. No. 49-6, page 105-06]

18.     The Jackson Park Site contains potential environmental contamination. A Phase I
environmental report states that the Jackson Park Service Yard, which is owned by the Park
District and is immediately south of the Jackson Park Site, had two leaking underground storage
tanks. A true and correct copy of the “A Place of Possibility Appendices for the Response to
the Request for Proposal” is attached hereto as Exhibit 5, (at page 20). This document was
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produced by UofC pursuant to a subpoena in this case. Further, the Phase I environmental report
identified numerous potentially contaminated sites within a one-quarter mile of the Jackson Park
Site. Exhibit 5 at page 204.

19.     The City has undertaken to pay for permanent road alterations and changes to the
Midway Plaisance and other roads in the location of the planned OPC in conjunction with the
construction of the OPC, pursuant to Section 4.14 of the Use Agreement. [Dkt. No. 49-6, pages
31-32].

20.     Plaintiff, Maria Valencia, is a resident of the City of Chicago, and pays City of Chicago
taxes. See, Declaration of Valencia Exhibit 6.

21.    Plaintiff, Maria Valencia, objects to using City of Chicago tax dollars to fund the OPC,
and objects to funding alterations necessitated by the OPC.

22.  Plaintiff, Maria Valencia, objects to the City of Chicago using tax dollars to fund the
OPC while President Obama endorses political candidates and Democratic party causes.

23.     Plaintiff, Protect our Parks, through its President, Herbert Caplan, has submitted a
Declaration, a copy of which is attached as Exhibit 7. As set forth in Caplan’s Declaration, the
membership of Protect Our Parks consists of Chicago residents and taxpayers who have a
dedicated interest in preserving, protecting, and advancing the Chicago public park system and
have engaged in legal action to insure the continued availability of open, clear and free public
parks as a retreat and place of recreation available for themselves, their families, friends,
neighbors, and fellow Chicago citizens and taxpayers, and as an established attraction for visitors
to the city. The membership of Protect Our Parks includes men and women of all ages, all races,
and a variety of ethnic backgrounds and political affiliations, all who have joined in making
contributions to support the pending lawsuit. In addition to the basic objection to the taking of
dedicated public park land in historic landmarked Jackson Park for the 99-year benefit and use of
a private party, the membership of Protect Our Parks is also opposed and objects to the use of
their public tax payments to facilitate construction of a facility with a 235-foot tower in the
public park and the unambiguous purpose of continuing to promote and advance a personal
political agenda with which they may disagree.

24.    Former President Obama has, and will continue to, advance certain political causes and
candidates in the Democratic Party. Paragraph 116 of Plaintiffs’ Complaint and Defendants’
Answer. [Dkt. No. 1, page 31. Dkt. No. 38, page 67.]

25.    The Obama Foundation is “an academic institute to enhance the pursuit of the [former]
President’s initiatives beyond 2017”. (Emphasis added) [Dkt. No. 1, page 31. Dkt. No. 38, page
67.]
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26.    The City of Chicago Law Department drafted the amendment to the Museum Act for the
purpose of allowing the Foundation to locate the OPC in Jackson Park. [Dkt. No. 1, page 5. Dkt.
No. 38, page 15.]

27.    The Use Agreement between the City of Chicago and the Foundation is not a lease.
Page 31 of the City’s Memorandum in Support of its rule 12(c) Motion. [Dkt. No. 49-1, page 37]

28.    The City of Chicago’s Corporation Counsel, Stephen Patton, admits that the City of
Chicago’s Law Department drafted the amendment to the Museum Act for the purpose of
allowing the Foundation to locate the OPC in Jackson Park. [Dkt. No. 1, page 5. Dkt. No. 38,
page 15.]

29.    I declare under penalty of perjury, that the foregoing is true and correct.


Executed on this 5th day of February, 2019




                                                             /s/ Mark Roth
                                                              Mark Roth
